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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

   Case No. SA CV 17-1386-DOC (KESx)                                Date: January 26, 2018

  Title: BILLIE RENE FRANCES LILLIAN POWERS V. THE BANK OF NEW YORK
        MELLON ET AL.

  PRESENT:
                     THE HONORABLE DAVID O. CARTER, JUDGE

                Deborah Lewman                                  Not Present
                Courtroom Clerk                                Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
                 None Present                                  None Present


         PROCEEDINGS (IN CHAMBERS): ORDER RESETTING DATES FOR
                                    DEFENDANTS’ MOTIONS TO
                                    DISMISS [35] [36] [38]

         On December 28, 2017, Defendants in this action filed Motions to Dismiss (Dkts.
  35, 38) and a Motion to Strike (Dkt. 36), and scheduled the hearings on the motions for
  February 5, 2018. On January 8, 2018, Plaintiff was substituted in as pro se counsel (Dkt.
  41). Plaintiff’s opposition to the motions was due on or before January 15, 2018. See L.R.
  7-9. However, Plaintiff has yet to file an opposition, which is grounds enough to grant the
  Motion as unopposed pursuant to Local Rule 7-12.

         Nevertheless, in the interest of resolving the claims on their merits, the Court will
  extend the deadline for Plaintiff’s opposition. Accordingly, the Court ORDERS that the
  hearings on the motions be continued to March 5, 2018, at 8:30 a.m. This means that
  Plaintiff’s opposition is now due on February 15, 2018. Plaintiff is warned that failure to
  timely file an opposition could result in dismissal of her case. Plaintiff is admonished to
  follow the Local Rules and timely file all future documents in this case.

         The Clerk shall serve this minute order on the parties.
   MINUTES FORM 11                                                     Initials of Deputy Clerk: djl
   CIVIL-GEN
